                                                                       Case 2:11-cv-01964-KJD-GWF Document 41 Filed 10/02/20 Page 1 of 4


                                                                   1   TYSON & MENDES LLP
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                                                                       Email: tmcgrath@tysonmendes.com
                                                                   3   3960 Howard Hughes Parkway, Suite 600
                                                                       Las Vegas, Nevada 89169
                                                                   4   Tel: (702) 724-2648
                                                                       Fax: (702) 938-1048
                                                                   5   Attorneys for Defendants

                                                                   6                            UNITED STATES DISTRICT COURT

                                                                   7                                     DISTRICT OF NEVADA

                                                                   8   LAURA MEGILL, individually, and as natural       2:11-cv-01964-KJD-GWF
                                                                       parent and guardian of BROOKE MEGILL, a
                                                                   9   minor, and ALAINA MEGILL, a minor,

                                                                  10                       Plaintiff,
                                                                       vs.                                                STIPULATION AND ORDER TO
                                                                  11                                                     EXTEND THE DEADLINE TO FILE
                                                                       METROPOLITAN DIRECT PROPERTY AND
3960 Howard Hughes Parkway, Suite 600




                                                                  12   CASUALTY INSURANCE COMPANY;                      RESPONSE TO MOTION TO ENFORCE
                                                                       METROPOLITAN DIRECT PROPERTY AND                  ARBITRATION AGREEMENT AND
                                        Las Vegas, Nevada 89169




                                                                  13   CASUALTY INSURANCE COMPANY dba                        COMPEL ARBITRATION
                                                                       METLIFE AUTO & HOME; METROPOLITAN
                                                                  14   GROUP PROPERTY AND CASUALTY
                                                                       INSURANCE COMPANY; METROPOLITAN
                                                                  15   GROUP PROPERTY AND CASUALTY
                                                                       INSURANCE COMPANY dba METLIFE
                                                                  16   AUTO & HOME; METROPOLITAN
                                                                       PROPERTY AND CASUALTY INSURANCE
                                                                  17   COMPANY; METROPOLITAN PROPERTY
                                                                       AND CASUALTY INSURANCE COMPANY
                                                                  18   dba METLIFE AUTO & HOME; METLIFE
                                                                       INSURANCE COMPANY OF
                                                                  19   CONNECTICUT; METLIFE INSURANCE
                                                                       COMPANY OF CONNECTICUT dba
                                                                  20   METLIFE AUTO & HOME; METLIFE
                                                                       AUTO & HOME; DOES I through X, inclusive;
                                                                  21   and ROE BUSINESS ENTITIES I through X,
                                                                       inclusive,,
                                                                  22
                                                                                           Defendants.
                                                                  23

                                                                  24         IT IS HEREBY STIPULATED and agreed by and between Plaintiffs LAURA MEGILL,
                                                                  25
                                                                       individually, and as natural parent and guardian of BROOKE MEGILL, a minor, and ALAINA
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                                                                       MEGILL, a minor and Defendants METROPOLITAN DIRECT PROPERTY AND
                                                                  27
                                                                       CASUALTY INSURANCE COMPANY; METROPOLITAN DIRECT PROPERTY AND
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                                                                   1   CASUALTY INSURANCE COMPANY dba METLIFE AUTO & HOME; METROPOLITAN

                                                                   2   GROUP PROPERTY AND CASUALTY INSURANCE COMPANY; METROPOLITAN
                                                                   3
                                                                       GROUP PROPERTY AND CASUALTY INSURANCE COMPANY dba METLIFE AUTO &
                                                                   4
                                                                       HOME; METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY;
                                                                   5
                                                                       METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY dba METLIFE
                                                                   6
                                                                       AUTO & HOME; METLIFE INSURANCE COMPANY OF CONNECTICUT; METLIFE
                                                                   7

                                                                   8   INSURANCE COMPANY OF CONNECTICUT dba METLIFE AUTO & HOME;

                                                                   9   METLIFEAUTO & HOME (hereafter “METLIFE”), by and through their respective
                                                                  10   undersigned counsel, that Defendants METLIFE’S Opposition to Plaintiffs’ Motion to Enforce
                                                                  11
                                                                       Arbitration Agreement and Compel Arbitration filed on September 3, 2020, which was due on
3960 Howard Hughes Parkway, Suite 600




                                                                  12
                                                                       October 1, 2020, shall be extended until October 5, 2020.
                                        Las Vegas, Nevada 89169




                                                                  13
                                                                              The parties enter this Stipulation in good faith to allow time for Defendants METLIFE’s
                                                                  14

                                                                  15   new counsel, Thomas E. McGrath, Esq. of the firm of Tyson & Mendes, LLP to file the

                                                                  16   Substitution of Counsel.

                                                                  17
                                                                       Dated this 1st day of October 2020.               Dated this 1st day of October 2020.
                                                                  18
                                                                       CAP & KUDLER                                      TYSON & MENDES, LLP
                                                                  19

                                                                  20
                                                                       /s/ Donald C. Kudler                              /s/ Thomas E. McGrath
                                                                  21   DONALD C. KUDLER                                  THOMAS E. MCGRATH
                                                                       Nevada Bar No. 5041                               Nevada Bar No. 7086
                                                                  22   3202 West Charleston Boulevard                    3960 Howard Hughes Parkway, Suite 600
                                                                       Las Vegas, Nevada 89102                           Las Vegas, Nevada 89169
                                                                  23   Attorneys for Plaintiffs                          Attorneys for Defendants METLIFE
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                                                                       Case 2:11-cv-01964-KJD-GWF Document 41 Filed 10/02/20 Page 3 of 4


                                                                   1   Dated this 1st day of October 2020.

                                                                   2   HALL JAFFE & CLAYTON, LLP

                                                                   3
                                                                       /s/ Steven T. Jaffe
                                                                   4
                                                                       STEVEN T. JAFFE
                                                                   5   Nevada Bar No. 7035
                                                                       KEVIN P. KING
                                                                   6   Nevada Bar No. 7405
                                                                       7425 Peak Drive
                                                                   7   Las Vegas, Nevada 89128
                                                                       Attorneys for Defendants METLIFE
                                                                   8

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                                                                  11
3960 Howard Hughes Parkway, Suite 600




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                                        Las Vegas, Nevada 89169




                                                                  13                 IT IS SO ORDERED

                                                                  14
                                                                              Dated this 2nd        day of October, 2020
                                                                  15   __

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                                                                  17                                                         ___________________
                                                                                                                     UNITED STATES DISTRICT JUDGE
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                                                                   1                                     CERTIFICATE OF SERVICE

                                                                   2          The undersigned, an employee of Tyson & Mendes LLP, hereby certifies that on the 30th

                                                                   3   day of September 2020, a copy of the foregoing STIPULATION AND ORDER TO EXTEND

                                                                   4   THE DEADLINE TO FILE RESPONSE TO MOTION TO ENFORCE ARBITRATION

                                                                   5   AGREEMENT AND COMPEL ARBITRATION , was served electronically to all parties of

                                                                   6   interest through the Court's CM/ECF system as follows:

                                                                   7   Donald C. Kudler, Esq.                            Steven T. Jaffee, Esq.
                                                                       CAP AND KUDLER                                    Danielle A. Otero, Esq.
                                                                   8   3202 West Charleston Boulevard                    HALL JAFFE & CLAYTON, LLP
                                                                       Las Vegas, NV 89102                               7425 Peak Drive
                                                                   9   Attorneys for Plaintiff                           Las Vegas, NV 89128

                                                                  10

                                                                  11
                                                                                                                  /s/ Kathryn Savage-Koehm
3960 Howard Hughes Parkway, Suite 600




                                                                  12                                              An employee of Tyson & Mendes LLP
                                        Las Vegas, Nevada 89169




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